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16
                             UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18
                                 SAN FRANCISCO DIVISION
19

20 UNITED STATES OF AMERICA,                   CASE NO. 3:21-CV-08735-WHA
21
          Plaintiff,                           STIPULATION AND [PROPOSED] ORDER
22                                             OF DISMISSAL
          v.
23
     UBER TECHNOLOGIES, INC.,
24
          Defendant.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
     3:21-CV-08735-WHA
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 1          IT IS HEREBY STIPULATED by and between Plaintiff, United States of America, and

 2 Defendant, Uber Technologies, Inc., through their undersigned counsel, that all claims by the United

 3 States against Uber in the above-captioned matter be dismissed with prejudice pursuant to Federal Rule

 4 of Civil Procedure 41(a).

 5          IT IS FURTHER STIPULATED THAT, pursuant to the parties’ settlement agreement in this

 6 case (attached here as Exhibit 1) and General Order No. 56 ¶ 9, the Court should retain jurisdiction

 7 solely to enforce the terms of the settlement agreement for a period of two years, through July 15, 2024,

 8 because the settlement agreement requires conduct to be completed during that period.

 9          IT IS FURTHER STIPULATED THAT, except as otherwise set forth in the settlement

10 agreement, each party shall bear its own attorney’s fees, costs, and litigation expenses.

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28 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
   3:21-CV-08735-WHA                 2
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 1 Dated: July 18, 2022                Respectfully submitted,

 2 STEPHANIE M. HINDS                  KRISTEN CLARKE
   United States Attorney              Assistant Attorney General
 3                                     Civil Rights Division
 4                                     REBECCA B. BOND
                                       Chief
 5

 6 /s/ David M. DeVito                 /s/ Cheryl Rost
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 7 Assistant United States Attorney    Deputy Chief
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 8                                     MATTHEW FAIELLA
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26                                     Attorneys for Defendant
                                       Uber Technologies, Inc.
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28 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
   3:21-CV-08735-WHA                 3
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 1                                               [PROPOSED] ORDER

 2          THE PARTIES HAVING STIPULATED THERETO, IT IS HEREBY ORDERED THAT:
 3          1.     All of the United States’ claims in the above-captioned matter against Uber
 4 Technologies, Inc. be dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a).

 5          2.     As set forth in the settlement agreement between the Parties in this case, and pursuant to
 6 General Order No. 56 ¶ 9, this Court shall retain jurisdiction solely to enforce the settlement agreement

 7 between the United States and Uber for a period of two years, through July 15, 2024.

 8          3.     Except as otherwise set forth in the settlement agreement between the parties, each party
 9 shall bear its own attorney’s fees, costs, and litigation expenses.

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11 DATED:                                                 ____________________________________
                                                          HON. WILLIAM ALSUP
12                                                        UNITED STATES DISTRICT JUDGE
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28 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
   3:21-CV-08735-WHA                 4
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 1                       ATTESTATION PURSUANT TO LOCAL CIVIL RULE 5-1(i)(3)

 2         I, David M. DeVito, attest that any signatories indicated by a conformed signature (/s/) within
 3 this e-filed document have approved, and concur in, this filing. I declare under penalty of perjury under

 4 the laws of the United States of America that the foregoing is true and correct.

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                                                 /s/ David M. DeVito
 6                                               DAVID M. DEVITO

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28 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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